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                      IN THE UNITED STATE DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF FLORID A




  DENNIS SOCHOR ,

               Petitioner ,

  vs .                           Case No . 05-61534-CIV-MARTINEZ-BANDSTR A

  JAMES CROSBY, Secretary ,
  Florida Department of Corrections ,
  and CHARLES J . CRIST, Attorney General,
            Respondent .




         STATE'S RESPONSE TO PETITION FOR WRIT OF HABEAS CORPU S

         On October 11, 2005, undersigned counsel received an order

  dated October 7, 2005, setting a planning and scheduling report .

  Therein this Court assumes that discovery and settlement

  discussions are appropriate under Local Rules 16 .1 D .

         However any discussions pertaining to discovery at this point

  are grossly premature, as this is a federal habeas petition filed

  by a capital inmate in state custody and is therefore governed by

  28 U .S .C . §2254 . Therein, petitioner must demonstrate that he is

  entitled to an evidentiary hearing on his claims .                 See   28 U .S .C .

  §2254 (e) (2) ;   Williams v . Taylor,   529 U .S . 420 (2002) ;    Breedlove v .

  Moore,   279 F .3d 952, 960 (11th Cir . 2002) When directed to

  respond to the petition, the state will illustrate how petitioner

  has failed to meet his burden regarding his entitlement to an

  evidentiary hearing on any his claims .




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        Furthermore, pursuant to Rule 4 of the Rules Governing 28

  U .S .C . §2254, the district court may determine that the petitioner

  is not entitled to relief and summarily dismiss the petition .

  Otherwise the judge shall order the respondent to file an answer or

  other pleading within the period of time fixed by the court or to

  take such other action as the judge deems appropriate .

       And finally, petitioner has filed a ninety seven (97) page

  petition, and a forty-four (44) page memorandum of law raising

  twelve (12) claims . Prior to this petition, Sochor, has completed

  a direct appeal, and certiorari review of same,             Sochor v . State ,

  580 So . 2d 595 (Fla .   1991) ;   Sochor v . Florida , 504 U .S . 527 (1992) ;

  Sochor v . State , 619 So . 2d 285 (Fla .       1993) ;   and post conviction

  appeal and original habeas petition .          Sochor v . State , 883 So . 2d

  766 (Fla . 2004) .   Consequently in addition to presenting a response

  to the underlying substantive claims, the state will also present

  all affirmative defenses including procedural defaults, and any

  other which may apply . As such, the State respectfully requests

  the time for the filing of the response be set ninety (90) days

  from the date of the order to show cause .

       WHEREFORE, the State respectfully request that this Court

  rescind its order of October 7, 2005 and render whatever

  alternative orders deemed appropriate .
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                           CERTIFICATE OF SERVIC E

        I hereby certify that the foregoing document was sent by

  United States mail, postage prepaid, to Rachel Day, OFFICE OF THE

  CAPITAL COLLATERAL REGIONAL COUNSLE, 101 N .E . 3rd Avenue, Suite 400 ,
                                                 y   J L day
  Fort Lauderdale ,   Florida 33301 ,    this                  of November, 2005 .




                                              CELIA A . TERENZI O
                                              Assistant Attorney Getera l




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